Case 2:90-cv-00520-KJM-SCR   Document 3478-5   Filed 01/23/09   Page 1 of 7




                      EXHIBIT I
    Case (];•lNecg46113'g11-zlEHI l/([:/'•ant FI'8•:3478-5      1 D'l;a•Set)867(]•ff•
                                                      1 effired Filed                 1 of
                                                                       01/23/09 Page 21 of 7
 Case 2:90-cv-00520-KJM-SCR            Document                                 FILED
                          UNITED STATES COURT OF APPEALS                         NOV 07 2008

                                                                            MOLLY C. DWYER, CLERK
                                  FOR THE NINTH CIRCUIT                       U.S. COURT   OF APPEALS




 MARCIANO           PLATA; et al.                    No. 08-17412

                  Plaintiffs   Appellees,            D.C. No. 3:01-cv-01351-TEH
                                                     Northern District of California,
                                                     San Francisco

 ARNOLD    SCHWARZENEGGER,
 Governor; et al.,                                   ORDER

                  Defendants     Appellants.

Before: TROTT and GOULD, Circuit Judges.

          Appellants' emergency motion to stay the district court's October 27, 2008
order pending      appeal is granted.
          The court, on its own motion, expedites the briefing and hearing of this

appeal.     The provisions of Ninth Circuit Rule 31-2.2(a) shall not apply to this

appeal. Any motions to extend time to file the briefs will be strongly disfavored.
          The   opening brief and excerpts of record are due December 8, 2008; the
answering brief is due January 7, 2009; and the•optional reply brief is due within
14 days after service of the answering brief.




ec/MOATT
Case 2:90-cv-00520-KJM-SCR   Document 3478-5   Filed 01/23/09   Page 3 of 7




                     EXHIBIT J
         Case 2:90-cv-00520-KJM-SCR               Document 3478-5                    Filed 01/23/09      Page 4 of 7
CAMPUS   MAPS   TODAY@UCI                                                                                    JANUARY   23, 2009




                                                                          3oan      Petersilia/Susan Turnerv Co-Directors




  Home                      Center for Evidence-Based Corrections
  Affiliated Faculty &
  Resea •ch e rs            In an effort to  put science before politics when managing state correctional
                            populations, the UC .Irvine Center for Evidence-Based Corrections taps the
  [n the News               research power of the University of California to evaluate juvenile and adult prison
  Projects                  programs      including rehabilitation, parole and reentry programs and provide
  Publications &            information that helps corrections officials make policy decisions based on
  Presentations             scientific evidence. The Center has received start-up and renewal funding by the
                            California Department of Corrections and Rehabilitation. Additional support has
  Upcoming [CPSR            been provided by the National Institute of Justice, U.S. Department of Justice, the
  Workshop                  National Institute of Mental Health, the Office of Juvenile Justice and Delinquency
  Student                   Prevention, the National Institute on Drug Abuse, the John D. and Catherine T.
  [nvolvement               MacArthur Foundation, and the California Policy Research Center.

                            The Center's mission is threefold:

                                        To identify promising programs and evidence-based practices
                                        from the scientific criminological literature;
                                        To initiate and execute original research that addresses criminal
                                        justice policy questions relevant to California;
                                        To assist The California Department of Corrections and
                                        Rehabilitation agencies to implement and evaluate these
                                         practices.

                            Evidence-based policy is an approach that helps people make well-informed
                            decisions about policies and programs by putting the best available evidence from
                            research at the heart of policy development and implementation. This approach
                            stands in contrast to opinion-based policy, which relies heavily on either the
                            selective use of evidence (e.g., on single studies irrespective of quality) or on the
                            untested views of individuals or groups, often inspired by ideological views and
                            speculative conjecture.

                                       Department of Criminology,    Law and Society
                                                  School of Social Ecology
                                               Unwersity of Cahforma, Irwne
                                  Califorma Department of Corrections and Rehabihtabon
                                         copyright statement    privacy statement
                                                   contact information
Case 2:90-cv-00520-KJM-SCR   Document 3478-5   Filed 01/23/09   Page 5 of 7




                    EXHIB IT K
        Case 2:90-cv-00520-KJM-SCR                      Document 3478-5   Filed 01/23/09    Page 6 of 7




                                   About the Commission
The Little Hoover Commission, formally known as the Milton Marks "Little Hoover" Commission on
California State Government Organization and Economy, is an independent •tate oversight agency that
was created in 1962. The Commission's mission is to investigate state government operations and
through reports, recommendations and legislative proposals promote efficiency, economy and
improved service.
By statute, the Commission is a balanced bipartisan board composed of five citizen members appointed
by the Governor, four citizen members appointed by the Legislature, two Senators and two Assembly
members.

The full C_om_mj_ssion selects study topics that come to its attention from citizens, legislators and other
sources. In addition, it has a statutory obligation to review and make recommendations on proposed
government reorganization plans.
The Commission's role differs in three distinct ways from other state and private-sector bodies that
analyze state programs:
    •
        Unlike fiscal or performance         audits,
                                               the Commission's studies look beyond whether programs
        comply with existing requirements, instead exploring how programs could and should function in
        today's world.
    •
        The Commission produces in-depth, well-documented reports that serve as a factual basis for
        crafting effective reform legislation.
    •
        Based on its reports, the Commission follows through with legislation to implement its
        recommendations, building coalitions, testifying at hearings and providing technical support to
        policy makers.
Under the directiori of a subcommittee of Commissioners, staff conducts research by bringing key
players together for discussions, contacting experts, reviewing academic literature and interviewing
those most closely affected by the targeted topic.

Based on preliminary research, the subcommittee identifies key issues and oversees the creation of
public_hearings_ to explore all sides of the issues in an open setting. The public hearings serve to inform
the Commissioners and educate the legislators, the public and the media about the problem areas. The
subcommittee develops findings and recommendations that focus on the key issues and forwards a draft
report to the full Commission for its consideration. The Commission, as a whole, may make changes
before adopting and releasing the final report.

The Commission works to implement its recommendations either through legislation or administrative
changes. New hearings are held and progress reports are issued in the years following the initial report


http ://www.lhc. ca..-,ov/   -   edi4./•c•n"- - •:r"/2"•/20(t9
        Case 2:90-cv-00520-KJM-SCR Document 3478-5 Filed 01/23/09 Page 7 of 7
until the Commission's recommendations have been enacted or its concerns have been addressed.

If you have any questions about the Commission, contact our office, littlehoover@lhc.ca.gov, 925 L
Street, Suite 805, Sacramento, California 95814, (916) 445-2125 or (916) 322-7709(fax).




http ://www.lhc.ca.gov/lhcdir/about.html 1/23/2009
